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 8                               UNITED STATES BANKRUPTCY COURT

 9                                   NORTHERN DISTRICT OF CALIFORNIA

10    In re:                                               Case No.    19-10490-DM

11    Maria Teresa Amador aka Maria T Pontaza              Chapter     13

12                        Debtor(s)                        AP No.      19-01042-DM

13    Maria Teresa Amador aka Maria T Pontaza              PLAINTIFF'S FIRST AMENDED
                                                           COMPLAINT OBJECTING TO
14                       Plaintiff                         DEFENDANT’S SECURED CLAIM FOR
                                                           FAILURE TO COMPLY WITH TRUTH
15               v                                         IN LENDING ACT

16    Deutsche Bank National Trust Company as              Bankruptcy Code § 502(b)(1)
      certificate trustee on behalf of Bosco Credit II     FRBP § 7001(2)
17    Trust Series 2010-1                                  TILA (15 U.S.C. §§ 1601–1666j)

18                       Defendant

19

20                                             INTRODUCTION
21             1. This adversary proceeding is brought by the Debtor pursuant to 11 U.S.C. § 502(b)(1)
22   and FRBP § 7001(2), to object to the allowed secured claim of Defendant Deutsche Bank
23   National Trust Company as certificate trustee on behalf of Bosco Credit II Trust Series 2010-1
24   on the basis that a portion of its claim is unenforceable against the Debtor under applicable law,
25   and to assert counterclaims against Defendant.
26             2. This Court has jurisdiction in that this matter is a core proceeding, under 11 U.S.C. §
27   1334 and 28 U.S.C. § 157(b)(2)(B) and (C).
28             3. Plaintiff consents to entry of a final order or judgment by the Bankruptcy Court.

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 1                                                FACTS

 2          4. On October 12, 2005, Long Beach Mortgage Company, loaned plaintiff $120,000,

 3   secured by a second position deed of trust on plaintiff’s home located at 2041 Clydesdale Way,

 4   Petaluma CA 94954.

 5          5. The loan had a 10% interest rate and a prepayment penalty.

 6          6. Long Beach Mortgage Company assigned the deed of trust to defendant Deutsche

 7   Bank National Trust Company on November 1, 2005.

 8          7. Plaintiff has no record or recollection of ever receiving a TILA final disclosure
 9   statement and a HUD-1 settlement statement in connection with the subject loan, and upon
10   information and belief alleges that she never received a TILA final disclosure statement or a
11   HUD-1 settlement statement.
12          8. Defendant recorded the November 1, 2005 assignment of the deed of trust on
13   February 15, 2019.
14          9. Defendant recorded a notice of default on March 11, 2019 and a notice of trustee’s
15   sale on June 14, 2019.
16          10. On July 3, 2019, the Plaintiff/Debtor filed a chapter 13 case in this Court.
17          11. On September 5, 2019, Defendant filed a secured claim in the amount of
18   $246,013.36.

19          12. The amount claimed is excessive and should be disallowed to the extent that it is

20   subject to the defenses and counterclaims set forth below.

21                                         CAUSE OF ACTION

22                                       I. Truth in Lending Act

23          13. Plaintiff realleges the preceding paragraphs as though fully set out herein.

24          14. The transaction upon which this claim is based was a consumer credit transaction

25   subject to the federal Truth in Lending Act, 15 U.S.C. §§ 1601–1666j (Act), and Regulation Z

26   thereunder, 12 C.F.R. § 1026.

27          15. At all times relevant hereto Defendant was a creditor within the meaning of the Truth

28   in Lending Act (TILA), 15 U.S.C. §§ 1601–1666j.

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 1          16. In the course of the loan transaction, Defendant failed to properly make all of the

 2   disclosures required by the Act and Regulation Z.

 3          17. Specifically, plaintiff alleges on information and belief that she never received a

 4   TILA final disclosure statement or a HUD-1 settlement statement.

 5          18. Upon information and belief, Long Beach Mortgage Company failed to disclosure

 6   certain charges incident to the extension of credit as required by 15 U.S.C. § 1605 and

 7   Regulation Z, § 1026.4, thus failing to disclose the finance charge in violation of 15 U.S.C. §

 8   1638(a)(3) and Regulation Z, § 1026.18(d).
 9          19. The disclosures improperly made by Defendant are material disclosures, and
10   therefore Defendant is liable to Plaintiff in an amount to be proved at trial, plus attorney fees and
11   costs, which must be deducted from its claim by way of recoupment.
12                                         PRAYER FOR RELIEF
13          WHEREFORE, Plaintiff prays for:
14          a. Monetary damages as provided by 15 U.S. Code § 1640;
15          b. Statutory damages as allowed by 15 U.S. Code § 1640;
16          c. A reduction in the claim of Deutsche Bank National Trust Company as certificate
17              trustee on behalf of Bosco Credit II Trust Series 2010-1 in an amount equal to
18              plaintiff’s damages;

19          d. Attorney fees and costs as permitted by 15 U.S. Code § 1640;

20          e. Such other relief as is just and proper.

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22   Dated: March 2, 2020                                          /s/Evan Livingstone
                                                                   Evan Livingstone
23                                                                 Attorney for Debtor

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